Case 2:05-cr-20078-.]PI\/| Document 65 Filed 07/07/05 Pagelon Page|D 87
IN THE UNITED STA'I’ES DISTRIC'I' COUR'I'

‘ ntsb ev B‘¢€i./_.._ D.c.
FOR THE wEsTERN DISTRICT oF TENNESSEE ' _ '
WESTERN DIvIsION 05~““-”7 PH 3’"9

 

THOMHS M. GOU|D
` UB. USTHCTG£IBT

UNITED STATES OF AMERICA,
W OF tit t.-’£WHES

Plaintiff,

05
V. Cr. No. 94120078
ARIANE GRANT,

Defendant.

 

ORDER TR.ANSFERRING CASE FOR CONSOLIDATION

 

This case is hereby TRANSFERRED, as to Defendant Ariane Grant
only, to the Honorable Bernice B. Donald for consolidation with USA

v. Ariane Grant, Criminal Case No. 05-20068 D/An.

IT IS SO ORDERED this r1 day of July, 2005.

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JO PHIPPS MCCALLA
t ITED STATES DISTRICT JUDGE

with Ru|e 55 andfor 32(b) FRCrP on ' '

This document entered on the docket sheet In compl!ance O§

 

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ERHCESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

